
62 So.3d 101 (2011)
In re Samir SURI.
No. 2011-OB-0685.
Supreme Court of Louisiana.
April 29, 2011.
Granted. Petitioner is allowed to resubmit his application to sit for the July 2011 Louisiana State Bar Examination. Petitioner shall not be required to pay a late filing fee for this application. However, petitioner shall not be considered for admission to the bar until he can demonstrate compliance with the requirements of Supreme Court Rule XVII, Section 3(B).
KNOLL, J., would deny petitioner permission to sit for the Louisiana State Bar Examination because petitioner is not in compliance with Louisiana Supreme Court Rule XVII, Section 3(B).
